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                           UNITED STATES DISTRICT CO URT
                           SOUTHERN DISTRICT OF FLORIDA

                            Case No.15-24363-ClV-W lLLlAM S


   MARJAM SUPPLY CO M PANY O F FLO RIDA ,
   LLC,and MARJAM SUPPLY COM PANY,

         Plainti#s/counter-Defendants

   VS.

   PLITEQ ,INC.and PAUL DOW NEY,

         Defendants/counter-plainti#s

                                            /

                                    FINAL JUDGM ENT

         THIS MATTER is before the Courtfollowing ajurytrial. The jury having rendered
   its verdict(DE 286),itis ORDERED AND ADJUDGED asfollows:
                Judgment is entered in favorof Defendants/counter-plainti#s Pliteq,Inc.

   and PaulDowney (collectively,'$Pliteq'
                                        ')on aIIcounts ofthe Complaintfiled by Plainti
                                                                                     ffs
   Marjam Supply Co.ofFlorida LLC and Marjam Supply Company (collectively,'sMarjam'
                                                                                  ')
   inthisaction and againstMarjam. Marjam shalltake nothing from theirclaims.
                Judgmentisentered in favorofPliteq and againstMarjam on Counts II,111,
   and IV ofPliteq's Counterclaim,in the amountof$310,000 in compensatory damages
   and $800,000 in punitive damages,fora totalof$1,110,000,as setforth i
                                                                       n the jury's
   verdictforw hich Ietexecution issue fodhw ith.

                AIIrem aining m otions are DENIED AS MO OT. The Clerk ofthe Coud is

   directed to CLOSE this case.
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                                   nMi
                                     ami,Fl
                                          orida,thi
                                                  s//v-
                                                      dayofMay,
   2018.


                                           KATHLE N M .W ILLIAM S
                                           UNITE STATES DISTRICT JUDG E
